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IN THE CIRCUIT COURT ()F KANAWHA COUNTY, \VEST VIRGINIA

WEST VIRGINIA MEDICAL INSTITUTE, INC.,

Plainriff,

v. Civil Action No.: lS-C-l()$(i
(Judge Stucky)

INNOVATIVE RESOURCE GROUP, LLC

d/b/a APS HEALTHCARE MIDWEST, a

Wisconsin Limited Liability Company,

KEPRO ACQUISITIONS, INC., a Pennsylvania

Corporation, WEST VIRGINIA

DEPARTMENT ()F ADMINISTRATION,

PURCHASING DIVISION, a West Virginia

Agency, WEST VIRGINIA DEPARTMENT OF

HEALTH AND HUMAN RESOURCES,

a West Virginia Agency,

Defendams.

DEFENDANT DHHR’S MOTION TO DISMISS

Defendant West Virginia Department of Health and Human Resourees (“Dl-IHR")` by
counsel, moves to dismiss the Complaint under West Virginia Rules of Civil Procedure lQ(b)(l),
lZ(b)(Z), lZ(b)(¢l), and l2(b)(6)` and West Virginia Code §§ 55-]7-3(a)(l) and 55-17-4(1). The
Complaint must be dismissed against DHHR for four reasons. F)'r'st, the Complaint must be
dismissed because service of process was deficient. Second, Plaintiff West Virginia Medical
Institute (“WVMI”) failed to provide statutorily required pre-suit notification to DHHR` a state
agency Thi)'a', the Complaint fails to allege any Wrongdoing by DHHR or assert any claims

against DHHR for which relief can be granted And _fc`)ur'th, WVl\/ll has improperly named

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DHHR as a direct defendant rather than naming the responsible state official. thus violating the
State`s constitutional immunity. These arguments are explained more fully below.

l. WVMIfaiiea' to properly serve DHHR in accordance with Wesr Virginia Corie
§55-17-4(1). The Summons issued to DHHR in this case is defective, rendering service of
process deficient West Virginia Rule of Civil Procedure 4(a) requires that for service to be
effective, a summons must "state the time within which the defendant must appear and
defend[.]"’ An unlawful return date renders a summons void and requires that the summons be
quashed Syl. Pt. l. Fisher. Soiis' & C`o_ v. Croti-'t'ey. 57 W. Va. 312. 50 S.E. 422 (1905).
WVMI’s Suinmons upon DllHR fails to comply with this rule. The Summons instructs Dl-IHR~
“You are required to serve your answer within 20 days after service of this summons upon you:
exclusive of the day of service." Summons to Karen L. Bowling. But Dl-IHR is a government
agency. and West Virginia Code § 55-17-4(1) provides that "[a] government agency shall be
allowed sixty days to serve an answer to a complaint or petition for which a summons has been
issued and served upon a government agency.” Accordingly, WVMl’s Summons upon DHHR is
deticient, service of the Complaint was invalid, and this action must be dismissed against DHHR
under West Virginia Rule of Civil Procedure lZ(b)(4).

2. WVMI failed fo provide DHHR with pre-suit notification Thc Complaint
against DHHR is statutorily barred because WVMI failed to provide proper pre-suit notification
West Virginia Code § 55-] 7-3(`a)(l) requires that state entities be provided with 30 days` notice
prior to the initiation ofa civil action against them. Notice must be provided to the state agency
itself. as well as the Attorney General. This requirement can be excused only upon a finding
complying with the required notice would irreparably harm the plaintiff Pre-suit notification is

a jurisdictional pre-requisite to a civil action against a state agency Syl. Pt. 3, Mor'!o i‘. C`SX

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Transp., hic., 220 W. Va. 412, 647 S.E_2d 848 (2007). WVl\/ll did not provide prc-suit
notification to DHHR or the Attorney General thirty days before filing this action__ as required by
§ 55-]7~3. nor has WVMI shown that irreparable harm would have occurred had it followed the
statutory mandate Accordingly, this Court lacks jurisdiction to hear any claim against Dl~lHR in
this action, and DHHR must be dismissed as a defendant under West Virginia Rules of Civil
ProceClure l2(b)(l) and l2(b)(2).

3. T he Complaint fails to state a claim for which relief can be granted against
DHHR. West Virginia Rule ofCivil Procedure 12(b)(6_) requires that a Complaint be dismissed
if it fails to allege sufficient facts to state a claim for which relief can be granted against a
particular defendant Dismissal is required here, as “it is clear that no relief could be granted
under any set of facts that could be proved consistent with the allegations." Ewi'rig v. Boara' of
Edtic. q)"Coimt__v of San-mters. 202 W. Va. 228` 235, 503 S.E.2d 541. 548 (1998) (internal
quotations omitted). This is a dispute between two companies who maintain a prime contractor
and subcontractor relationship with one another. Any grievance that WVl\/ll has with Defendants
APS l-lealthcare Midwest or KEPRO Acquisitions, or any fortner employee, is between WVl\/ll
and those Defendants. So long as West Virginia Medicaid services are not interrupted, DHHR
has no interest at stake in this litigationl

Dismissal is required because the Compiaint neither alleges wrongdoing by DHHR nor
seeks any relief from the agency. The Colnplaint lodges ten claims Counts One through Five_
claims of antitrust violations1 breach of contract, breach of good faith and fair dealing, and
tortious interference of contracteare directed solely at Defendants APS and KEPRO, either
individually or collectively Compl. pp. 13-20. And in Counts Seven through Ten_ WVl\/ll

alleges computer crimes, trade secret violations, conversion, and breach of contract against two

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ofits former employees lri. at pp. 23-26. Of the Complaint`s ten counts. only Count Six names
DHHR as one of its targets for declaratory relief but the allegations and relief sought in that
claim are again aimed at APS and KEPRO only. ld. at pp. 20-22. ln facl. the only indication
that WVMI is seeking any relief from DHHR at all is in two footnotes Footnote One states that
WVMI is seeking “injunctive relief"` from the state agency defendants (although WVMI asks for
no injunctive relief against the agency), and Footnote Two acknowledges that DHHR is named
only because it is a party to the contract at issue and would purportedly be affected by any
declaratory judgment entered (it would not). These are hardly sufficient allegations to withstand
dismissal To be clear_ DHHR has no interest in this case, as it will not be affected by the relief
sought by WVMI. Indeed, even ii`complete relief were warranted in favor of WVMl on all ten
counts_ DHHR would not be compelled to take any action under the relief sought in the
Complaint, nor would its interests be affected Accordingly_. the Complaint must be dismissed
under Rule l2(b)(6).

4. WVMI has improperly sued a state entity directly rather than naming the
responsible state o_[/ict`al. 'fhe Complaint against DHHR is also barred because the State has
been sued in violation of the state constitution The West Virginia Constitution providesg “The
State of West Virginia shall never be made a defendant in any court oflaw or equity[.]” W. Va.
Const. ait. Vl, § 35. A plaintiff seeking injunctive relief against a state entity_something
WVMl is purporting to do-cannot sue the State directly, but rather must name the State
officials charged with administering the program at isSUe. See. Unii‘. ofW. Va. Ba’. ofTrttstees ex
rel. W. l/a. Univ. v. Graf, 205 W. Va. llS, 122-23. 516 S.E.2d 741, 745-46 (1998) (collecting
caSeS that identify exceptions to sovereign imn‘iunity)', see also Ex l’arte l'ottrtg. 209 U.S. 123

{1908) (holding that the Eleventh Amendment does not preclude suits against state officers for

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injunctive relief). WVl\/ll has sued DHHR directly, rather than siting the state official charged
with administering the program involved 'l`he action against DliHR thus violates the State’s
sovereign immunit_v_. and DHHR must be dismissed as a defendant under West Virginia Rule of

Civil Procedure 12(b)(2).
CONCLUSION

The Complaint must be dismissed as to Defendant DHHR.

Respectfuily submitted,

WEST VIRGINIA DEPARTMENT OF HEALTH
AND HUMAN RESOURCES,
Defendant,

By counsel,

PATRICK MORRISEY
ATTORNEY GENERAL

Christoph§r S. Dodt'ill (l l040)

Depttty Attorriey Gerteral
3]2 Quarrier St., 2nd Floor
Charleston, WV 2530l
Phone: (304) 558-2131
Fax: (304) 558-0430
Christopher.S.Dodrill@.wvago.gov
C ounsel for West Virginia Departnient of
He.alth and Hzmian Resoirrces

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lN THE CIRCUIT COURT OF KANAWHA COUNTY, WEST VIRGINIA

VVEST VIRGINIA MEDICAL INSTITUTE, INC.,

Plaitrtiff,

v. Civil Action No.: lS-C-1680
(Judge Stucky)

INNOVATIVE RESOURCE GROUP, LLC
dlbla APS HEALTHCARE MIDWEST, a
Wisconsin Limited Liability Company,

KEPRO ACQUISITIONS, lNC., a Pennsylvania
Corporation, WEST VIRGINIA
DEPARTMENT OF ADMINISTRATION,
PURCHASING DIVISION, a West Virginia
Agency, WEST VIRGINIA DEPARTMENT (}F
HEALTH AND HUMAN RESOURCES,

a West Virginia Agenc_y,

Defendants.

CERTIFICATE ()F SERVICE
l, Christopher S. Dodrill. Deputy Attomey General and counsel for Respondents West
Virginia Department of Health and Human Resources do hereby certify that on September l l,
2015, l caused a true copy of the foregoing DEFENDANT DHHR’S MOTION TO DlSMISS
to be served on counsel of record by Hand Delivery and/or U.S. Regular mail as follows:
Carte P. Goodwin, Esquire
James A. Kirby, ill, Esquire
Lucas R. White, Esquire
Goodwin & Goodwin, LLP

300 Summers Street, Suite l500
Charieston, WV 2530]

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Webster J. Arceneaux. lll__ Esquire
Lewis Glasser Casey & Rollins PLLC
BB&T Square
300 Summers Street, Suite 700
Charleston, WV 2530l

Kelli D. Talbotti Esquire
Senior Deputy Attorney General
Greg S. Foster, Esquire
Assistant Attorney General
State of West Virginia Office of the Attorney General
812 Quamer si., z“d rigor
Charlestong WV 2530]

Christopher S. Dodrill

I\.J

